UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
SEAPORT GLOBAL HOLDINGS LLC,                                                   19 CIVIL 9347 (ER)
                                   Petitioner,                                      JUDGMENT
                 -against-

PETAQUILLA MINERALS LTD.,
                                    Respondent.
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        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order dated May 27, 2020, the petitioners’ motion is granted in part and denied

in part; the arbitration award is confirmed, and judgment is entered in favor of petitioners in the

amount of $2,972,833.31 pursuant to the arbitrator’s final award; the judgment shall accrue post-

judgment interest as mandated in 28 U.S.C. § 1961; if Seaport chooses to pursue attorney’s fees

and costs in connection with this matter, as well as pre-judgment interest on the award, it must

within ten days of the entry of the Order, submit records supporting attorney’s fees and costs and

a short letter indicating the amount of pre-judgment interest it seeks and the basis for this amount.

Dated: New York, New York
       May 27, 2020

                                                         RUBY J. KRAJICK
                                                    ________________________
                                                            Clerk_ of Court
                                                 BY:
                                                   _________________________
                                                            Deputy Clerk
